                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                   DOCKET NO. 3:11cr373-FDW

UNITED STATES OF AMERICA.                        )
                                                 )       THIRD FINAL ORDER AND JUDGMENT
       v.                                        )           CONFIRMING FORFEITURE
                                                 )
(3) KAMAL ZAKI QAZAH,                            )


       On June 11, 2013, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. § 853 and Fed. R. Crim. P. 32(d)(2), based upon the Defendant’s conviction at trial by the

jury on Counts One and Seven in the Bill of Indictment and evidence already on record.

       Direct notice was served on potential claimants known to the government. Three third-

party petitions have been filed, one by Amer Quzah (Doc. 319), one by Ashraf Quzah (Doc. 370),

and one by Wael Audi (Doc. 372).          Amer Quzah did not alleged an interest in the assets which

are the subject of this government motion, and Ashraf Quzah filed a voluntary notice of dismissal

of his petition on May 19, 2014 (Doc. 496).          Wael Audi’s petition was settled by consent to the

forfeiture of $1776.69 in an account at Bank of America and release of the balance.           See Doc.

502.

       On August 2, 2013 through August 31 2013, the United States published via

www.forfeiture.gov, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property according to law, and further notifying all third parties of their right to petition

the Court within sixty days from August 2, 2013 for a hearing to adjudicate the validity of any

alleged legal interest in the property.    Except as stated above, it appears from the record that no

such petitions have been filed regarding the two assets which are the subject of the government’s

motion.     Based on the record in this case, including the defendant’s conviction, the trial evidence,




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and the evidence summarized in the government’s motion for the preliminary order (Doc. 282),

the Court finds, in accordance with Rule 32.2(c)(2), that the Defendant had an interest in the

property that is forfeitable under the applicable statute.

       As to the subject real property, the government has stated that it has elected not to pursue

the forfeiture for insufficient net equity value, following demolition of a house on the property.

       THEREFORE, the following real property is deleted from the Preliminary Order and

released from the First Protective Order:

       I. Property specifically identified in the indictment and/or the protective order.
       ...
             C. The following real property.

                       1.   1716 Budon Ct., Columbia, SC.
               ...

       In accordance with Rule 32.2(c)(2), the Preliminary Order of Forfeiture is confirmed as

final with regard to the following property.      All right, title, and interest in this property has

therefore been forfeited to the United States for disposition according to law:

       II. Other assets in government custody.
       ...
             B. Financial accounts owned or controlled by defendant.

               ...     3. Bank of America xxxxxxxx5091 - $1776.69.


       IT IS SO ORDERED.




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